                19-60131-BPH Doc#: 40 Filed: 06/17/19 Entered: 06/17/19 12:52:38 Page 1 of 36
 Fill in this information to identify your case:

 Debtor 1                   John William Chvilicek
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Gayle Marie Chvilicek
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF MONTANA

 Case number           19-60131
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             565,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              99,483.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             664,483.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             357,142.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $             622,527.62

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              37,325.43


                                                                                                                                     Your total liabilities $             1,016,995.05


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                4,436.16

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                4,421.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
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 Debtor 1      John William Chvilicek
 Debtor 2      Gayle Marie Chvilicek                                                      Case number (if known) 19-60131

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $       4,135.63


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            622,527.62

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $            622,527.62




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
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                 19-60131-BPH Doc#: 40 Filed: 06/17/19 Entered: 06/17/19 12:52:38 Page 3 of 36
 Fill in this information to identify your case and this filing:

 Debtor 1                    John William Chvilicek
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Gayle Marie Chvilicek
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF MONTANA

 Case number            19-60131                                                                                                                                 Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        113 Swan Ridge CT                                                              Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Kalispell                         MT        59901-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                               $565,000.00                $565,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              JTWROS
        Flathead                                                                       Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Declaration of Homestead recorded on February 20, 2019 in Flathead
                                                                                County.


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $565,000.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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 Debtor 1        John William Chvilicek
 Debtor 2        Gayle Marie Chvilicek                                                                              Case number (if known)       19-60131

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Ford                                      Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Explorer                                        Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2012                                            Debtor 2 only
                                                                                                                              Current value of the      Current value of the
         Approximate mileage:                  98,000                Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                              $11,382.00                 $11,382.00
                                                                     (see instructions)



  3.2    Make:       Ford                                      Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Explorer                                        Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2013                                            Debtor 2 only
                                                                                                                              Current value of the      Current value of the
         Approximate mileage:                  52,000                Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                              $15,823.00                 $15,823.00
                                                                     (see instructions)



  3.3    Make:       Ford                                      Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      F150                                            Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2005                                            Debtor 2 only
                                                                                                                              Current value of the      Current value of the
         Approximate mileage:                225,000                 Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                                $1,222.00                  $1,222.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes

  4.1    Make:       Glastron                                  Who has an interest in the property? Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      V212                                            Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       1975                                            Debtor 2 only
                                                                                                                              Current value of the      Current value of the
                                                                     Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
                                                                     Check if this is community property                                 $750.00                     $750.00
                                                                     (see instructions)




 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $29,177.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.


Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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 Debtor 1       John William Chvilicek
 Debtor 2       Gayle Marie Chvilicek                                                            Case number (if known)    19-60131

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Living Room Furniture                                                                                      $300.00


                                    Bedroom Furniture                                                                                          $200.00


                                    Dining Room Furniture                                                                                      $300.00


                                    Kitchen Furniture                                                                                            $25.00


                                    Kitchen Appliances                                                                                         $450.00


                                    Everyday Dishes                                                                                              $50.00


                                    Lawn Mower, Gardening Tools & Patio Furniture                                                              $850.00


                                    Hand Tools                                                                                                 $450.00


                                    Power Tools                                                                                                  $50.00


                                    Whirlpool Dryer                                                                                            $200.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Cell Phones - 2 Verizon Plan                                                                               $250.00


                                    Televisions - 3                                                                                            $250.00


                                    Radios/ Stereos/ MP3 Players - 2                                                                           $100.00


                                    VCR/ DVD Players                                                                                             $30.00


                                    Computers - 2                                                                                              $200.00


                                    Cameras/ Video Equipment                                                                                     $50.00




Official Form 106A/B                                                 Schedule A/B: Property                                                        page 3
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 Debtor 1       John William Chvilicek
 Debtor 2       Gayle Marie Chvilicek                                                               Case number (if known)     19-60131

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    Binoculars                                                                                                       $20.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Clothing - John                                                                                                $100.00


                                    Clothing - Gayle                                                                                               $300.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    Everyday Jewelry                                                                                                 $50.00


                                    Watch                                                                                                            $20.00


                                    Wedding Rings                                                                                                  $500.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                    Cat                                                                                                                $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                       $4,745.00


 Part 4: Describe Your Financial Assets

Official Form 106A/B                                                 Schedule A/B: Property                                                            page 4
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 Debtor 1         John William Chvilicek
 Debtor 2         Gayle Marie Chvilicek                                                                                       Case number (if known)   19-60131

 Do you own or have any legal or equitable interest in any of the following?                                                                             Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                 Cash on hand
                                                                                                                                 - estimated                             $100.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:
                                                          Joint checking
                                                          account #7130 -
                                              17.1.       estimated                               Glacier Bank                                                           $280.00

                                                          Joint checking
                                                          account #9847 -
                                              17.2.       estimated                               Glacier Bank                                                             $25.00

                                                          Gayle's checking
                                                          account #9126 -
                                              17.3.       estimated                               Glacier Bank                                                           $156.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................        Institution or issuer name:


                                                        Edward Jones Mutual Fund - consumed in Chapter 13 case ($1,600)                                                      $0.00


19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                             % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                                                  Institution name:

                                              Gayle's retirement                                  NRECA (retirement contribution required)
                                              account - estimated                                                                                                    $65,000.00




Official Form 106A/B                                                                       Schedule A/B: Property                                                            page 5
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 Debtor 1         John William Chvilicek
 Debtor 2         Gayle Marie Chvilicek                                                                       Case number (if known)      19-60131

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
        Yes. Give specific information about them...

                                                1986 Expired patent on newborn pillow                                                                Indeterminate


27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.

28. Tax refunds owed to you
      No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......




                                                         Potential Tax Refunds and Credits                                                           Indeterminate


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                       Beneficiary:                            Surrender or refund
                                                                                                                                             value:
Official Form 106A/B                                                   Schedule A/B: Property                                                                 page 6
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 Debtor 1        John William Chvilicek
 Debtor 2        Gayle Marie Chvilicek                                                                                           Case number (if known)        19-60131


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $65,561.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                       $0.00




Official Form 106A/B                                                           Schedule A/B: Property                                                                                page 7
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 Debtor 1         John William Chvilicek
 Debtor 2         Gayle Marie Chvilicek                                                                                                 Case number (if known)   19-60131

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                 $565,000.00
 56. Part 2: Total vehicles, line 5                                                                           $29,177.00
 57. Part 3: Total personal and household items, line 15                                                       $4,745.00
 58. Part 4: Total financial assets, line 36                                                                  $65,561.00
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $99,483.00              Copy personal property total              $99,483.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $664,483.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 8
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 Fill in this information to identify your case:

 Debtor 1                 John William Chvilicek
                          First Name                        Middle Name                 Last Name

 Debtor 2                 Gayle Marie Chvilicek
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MONTANA

 Case number           19-60131
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      113 Swan Ridge CT Kalispell, MT                                $565,000.00                              $250,000.00      Mont. Code Ann. §§
      59901 Flathead County                                                                                                    70-32-104, 25-13-615
      Declaration of Homestead recorded                                                    100% of fair market value, up to
      on February 20, 2019 in Flathead                                                     any applicable statutory limit
      County.
      Line from Schedule A/B: 1.1

      2012 Ford Explorer 98,000 miles                                 $11,382.00                                 $2,500.00     Mont. Code Ann. §
      Line from Schedule A/B: 3.1                                                                                              25-13-609(2)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      2005 Ford F150 225,000 miles                                     $1,222.00                                 $2,500.00     Mont. Code Ann. §
      Line from Schedule A/B: 3.3                                                                                              25-13-609(2)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      1975 Glastron V212                                                  $750.00                                  $600.00     Mont. Code Ann. §
      Line from Schedule A/B: 4.1                                                                                              25-13-609(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Living Room Furniture                                               $300.00                                  $300.00     Mont. Code Ann. §
      Line from Schedule A/B: 6.1                                                                                              25-13-609(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
            19-60131-BPH Doc#: 40 Filed: 06/17/19 Entered: 06/17/19 12:52:38 Page 12 of 36
 Debtor 1    John William Chvilicek
 Debtor 2    Gayle Marie Chvilicek                                                                       Case number (if known)     19-60131
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Bedroom Furniture                                                   $200.00                                   $200.00        Mont. Code Ann. §
     Line from Schedule A/B: 6.2                                                                                                  25-13-609(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Dining Room Furniture                                               $300.00                                   $300.00        Mont. Code Ann. §
     Line from Schedule A/B: 6.3                                                                                                  25-13-609(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Kitchen Furniture                                                    $25.00                                    $25.00        Mont. Code Ann. §
     Line from Schedule A/B: 6.4                                                                                                  25-13-609(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Kitchen Appliances                                                  $450.00                                   $450.00        Mont. Code Ann. §
     Line from Schedule A/B: 6.5                                                                                                  25-13-609(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Everyday Dishes                                                      $50.00                                    $50.00        Mont. Code Ann. §
     Line from Schedule A/B: 6.6                                                                                                  25-13-609(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Lawn Mower, Gardening Tools &                                       $850.00                                   $850.00        Mont. Code Ann. §
     Patio Furniture                                                                                                              25-13-609(1)
     Line from Schedule A/B: 6.7                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Hand Tools                                                          $450.00                                   $450.00        Mont. Code Ann. §
     Line from Schedule A/B: 6.8                                                                                                  25-13-609(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Power Tools                                                          $50.00                                    $50.00        Mont. Code Ann. §
     Line from Schedule A/B: 6.9                                                                                                  25-13-609(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Whirlpool Dryer                                                     $200.00                                   $200.00        Mont. Code Ann. §
     Line from Schedule A/B: 6.10                                                                                                 25-13-609(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cell Phones - 2 Verizon Plan                                        $250.00                                   $250.00        Mont. Code Ann. §
     Line from Schedule A/B: 7.1                                                                                                  25-13-609(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Televisions - 3                                                     $250.00                                   $250.00        Mont. Code Ann. §
     Line from Schedule A/B: 7.2                                                                                                  25-13-609(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 4
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 Debtor 1    John William Chvilicek
 Debtor 2    Gayle Marie Chvilicek                                                                       Case number (if known)     19-60131
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Radios/ Stereos/ MP3 Players - 2                                    $100.00                                   $100.00        Mont. Code Ann. §
     Line from Schedule A/B: 7.3                                                                                                  25-13-609(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     VCR/ DVD Players                                                     $30.00                                    $30.00        Mont. Code Ann. §
     Line from Schedule A/B: 7.4                                                                                                  25-13-609(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Computers - 2                                                       $200.00                                   $200.00        Mont. Code Ann. §
     Line from Schedule A/B: 7.5                                                                                                  25-13-609(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cameras/ Video Equipment                                             $50.00                                    $50.00        Mont. Code Ann. §
     Line from Schedule A/B: 7.6                                                                                                  25-13-609(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Binoculars                                                           $20.00                                    $20.00        Mont. Code Ann. §
     Line from Schedule A/B: 9.1                                                                                                  25-13-609(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Clothing - John                                                     $100.00                                   $100.00        Mont. Code Ann. §
     Line from Schedule A/B: 11.1                                                                                                 25-13-609(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Clothing - Gayle                                                    $300.00                                   $300.00        Mont. Code Ann. §
     Line from Schedule A/B: 11.2                                                                                                 25-13-609(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Everyday Jewelry                                                     $50.00                                    $50.00        Mont. Code Ann. §
     Line from Schedule A/B: 12.1                                                                                                 25-13-609(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Watch                                                                $20.00                                    $20.00        Mont. Code Ann. §
     Line from Schedule A/B: 12.2                                                                                                 25-13-609(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Wedding Rings                                                       $500.00                                   $500.00        Mont. Code Ann. §
     Line from Schedule A/B: 12.3                                                                                                 25-13-609(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cat                                                                    $0.00                                     $0.00       Mont. Code Ann. §
     Line from Schedule A/B: 13.1                                                                                                 25-13-609(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 4
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 Debtor 1    John William Chvilicek
 Debtor 2    Gayle Marie Chvilicek                                                                       Case number (if known)     19-60131
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Cash on hand - estimated                                            $100.00                                       75%        Mont. Code Ann. § 25-13-614
     Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Joint checking account #7130 -                                      $280.00                                       75%        Mont. Code Ann. § 25-13-614
     estimated: Glacier Bank
     Line from Schedule A/B: 17.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Joint checking account #9847 -                                       $25.00                                       75%        Mont. Code Ann. § 25-13-614
     estimated: Glacier Bank
     Line from Schedule A/B: 17.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Gayle's checking account #9126 -                                    $156.00                                       75%        Mont. Code Ann. § 25-13-614
     estimated: Glacier Bank
     Line from Schedule A/B: 17.3                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Gayle's retirement account -                                    $65,000.00                                       100%        Mont. Code Ann. §
     estimated: NRECA (retirement                                                                                                 25-13-608(1)(e)
     contribution required)                                                                100% of fair market value, up to
     Line from Schedule A/B: 21.1                                                          any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 4 of 4
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 Fill in this information to identify your case:

 Debtor 1                   John William Chvilicek
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Gayle Marie Chvilicek
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MONTANA

 Case number           19-60131
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
         Select Portfolio
 2.1                                                                                                          $314,991.00               $565,000.00                     $0.00
         Servicing, Inc                           Describe the property that secures the claim:
         Creditor's Name                          113 Swan Ridge CT Kalispell, MT
                                                  59901 Flathead County
                                                  Declaration of Homestead recorded
                                                  on February 20, 2019 in Flathead
         Attn: Bankruptcy                         County.
                                                  As of the date you file, the claim is: Check all that
         PO Box 65250                             apply.
         Salt Lake City, UT 84165                     Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred          2004                      Last 4 digits of account number        3717




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
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 Debtor 1 John William Chvilicek                                                                              Case number (if known)        19-60131
               First Name                  Middle Name                      Last Name
 Debtor 2 Gayle Marie Chvilicek
               First Name                  Middle Name                      Last Name


 2.2     Wells Fargo Bank, NA                       Describe the property that secures the claim:                    $20,237.00                 $15,823.00            $4,414.00
         Creditor's Name                            2013 Ford Explorer 52,000 miles

         dba Wells Fargo Auto
                                                    As of the date you file, the claim is: Check all that
         PO Box 130000                              apply.
         Raleigh, NC 27605                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 Opened
                                 12/16 Last
 Date debt was incurred          Active 01/19                Last 4 digits of account number         5575


 2.3     Wells Fargo Bank, NA                       Describe the property that secures the claim:                    $21,914.00                 $11,382.00          $10,532.00
         Creditor's Name                            2012 Ford Explorer 98,000 miles

         dba Wells Fargo Auto
                                                    As of the date you file, the claim is: Check all that
         PO Box 130000                              apply.
         Raleigh, NC 27605                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 Opened
                                 04/17 Last
 Date debt was incurred          Active 01/19                Last 4 digits of account number         7321



   Add the dollar value of your entries in Column A on this page. Write that number here:                                    $357,142.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                   $357,142.00

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.1
          Jason J. Henderson
          38 2nd Ave East                                                                             Last 4 digits of account number
          Dickinson, ND 58601




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                    page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                     John William Chvilicek
                              First Name                    Middle Name                        Last Name

 Debtor 2                     Gayle Marie Chvilicek
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                DISTRICT OF MONTANA

 Case number           19-60131
 (if known)                                                                                                                                           Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim      Priority              Nonpriority
                                                                                                                                         amount                amount
                                                                                                                            $622,527.6
 2.1          IRS                                                    Last 4 digits of account number                                 2          Unknown               Unknown
              Priority Creditor's Name
              PO Box 7346                                            When was the debt incurred?
              Philadelphia, PA 19101-7346
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        Unsecured Debt




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 12
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 Debtor 1 John William Chvilicek
 Debtor 2 Gayle Marie Chvilicek                                                                            Case number (if known)            19-60131

 2.2        MT Dept of Revenue                                       Last 4 digits of account number                               $0.00                  $0.00                  $0.00
            Priority Creditor's Name
            Bankruptcy Unit                                          When was the debt incurred?
            PO Box 7701
            Helena, MT 59604-7701
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                            Notice Only


 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        Absolute Resolutions Investments                           Last 4 digits of account number        9262                                                              $0.00
            Nonpriority Creditor's Name
            c/o Absolute Resolutions Corp.                             When was the debt incurred?
            8000 Norman Center Drive, Ste. 350
            Bloomington, MN 55437
            Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                 Debtor 1 only                                             Contingent
                 Debtor 2 only                                             Unliquidated
                 Debtor 1 and Debtor 2 only                                Disputed
                 At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                     Student loans
            debt                                                          Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims

                 No                                                        Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                       Other. Specify   Credit Card debt




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 12
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 Debtor 1 John William Chvilicek
 Debtor 2 Gayle Marie Chvilicek                                                                          Case number (if known)         19-60131

 4.2      Bank Of America                                            Last 4 digits of account number       6706                                               $786.00
          Nonpriority Creditor's Name
          4909 Savarese Circle                                                                             Opened 08/17 Last Active
          Fl1-908-01-50                                              When was the debt incurred?           11/17
          Tampa, FL 33634
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card debt


 4.3      Capital One                                                Last 4 digits of account number       9430                                             $2,321.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 09/15 Last Active
          PO Box 30285                                               When was the debt incurred?           11/17
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card debt


 4.4      Capital One Bank                                           Last 4 digits of account number                                                        $1,944.23
          Nonpriority Creditor's Name
          c/o Larsen Law Firm, PLLP                                  When was the debt incurred?           2009
          Attn: Dirk Larsen, Esq.
          PO Box 1692
          Great Falls, MT 59403
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CV-2009-0976, DV 09-1497B




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 12
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 Debtor 1 John William Chvilicek
 Debtor 2 Gayle Marie Chvilicek                                                                          Case number (if known)         19-60131

 4.5      Capital One Bank (USA) NA                                  Last 4 digits of account number                                                        $2,321.42
          Nonpriority Creditor's Name
          c/o Rausch Strum                                           When was the debt incurred?           2018
          Attn: Joel Boon, Esq.
          3209 W 76th Street, Suite 301
          Minneapolis, MN 55435
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   DV 18-1215


 4.6      Capital One Bank (USA), N.A.                               Last 4 digits of account number       2462                                             $1,448.08
          Nonpriority Creditor's Name
          by American InfoSource as agent                                                                  Opened 05/16 Last Active
          4515 N Santa Fe Ave                                        When was the debt incurred?           11/17
          Oklahoma City, OK 73118
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card debt


 4.7      CB1 Collections Inc                                        Last 4 digits of account number       3942                                               $184.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 02/13
          PO Box 31213
          Billings, MT 59107
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collecting for Trugreen Chemlawn




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 Debtor 2 Gayle Marie Chvilicek                                                                          Case number (if known)         19-60131

 4.8      CB1, Inc.                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          dba CBM Collections                                        When was the debt incurred?
          PO Box 7429
          Missoula, MT 59807
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Potential Collection Account


 4.9      CBS                                                        Last 4 digits of account number       2021                                               $135.00
          Nonpriority Creditor's Name
                                                                                                           Opened 12/13 Last Active
          PO Box 7339                                                When was the debt incurred?           02/13
          Missoula, MT 59807
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collecting for Glacier Regional Pathology
              Yes                                                       Other. Specify   Bil


 4.1
 0        CBS                                                        Last 4 digits of account number                                                          $899.52
          Nonpriority Creditor's Name
          PO Box 7339                                                When was the debt incurred?           2013
          Missoula, MT 59807
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CV-2012-2853, DV 13-222D




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 Debtor 2 Gayle Marie Chvilicek                                                                          Case number (if known)         19-60131

 4.1
 1        Centron Services                                           Last 4 digits of account number       Multiple                                         $2,553.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           2017- 2018
          PO Box 875
          Helena, MT 59624
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collecting for The Health Center, Kalispell
              Yes                                                       Other. Specify   Regional, & KRHPN Family HE


 4.1
 2        Centron Services                                           Last 4 digits of account number                                                          $472.00
          Nonpriority Creditor's Name
          Attn: Julia Swingley, Esq.                                 When was the debt incurred?           2012
          PO Box 534
          Helena, MT 59624
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CV-2012-1283


 4.1
 3        Chase Bank USA, N.A.                                       Last 4 digits of account number       8338                                             $3,855.00
          Nonpriority Creditor's Name
          c/o Robertson, Anschutz & Schneid                                                                Opened 02/16 Last Active
          6409 Congress Avenue, Suite 100                            When was the debt incurred?           12/17
          Boca Raton, FL 33487
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card debt




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 Debtor 2 Gayle Marie Chvilicek                                                                          Case number (if known)         19-60131

 4.1
 4        Collection Center                                          Last 4 digits of account number       5724                                               $565.61
          Nonpriority Creditor's Name
          1308 12th Ave S                                            When was the debt incurred?           2015
          PO Box 6975
          Great Falls, MT 59406
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collecting for Kalispell Regional Healthcare


 4.1
 5        CPI                                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3104 W Broadway St                                         When was the debt incurred?
          Missoula, MT 59808-1614
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Potential Collection Account


 4.1
 6        Credit Associates Inc                                      Last 4 digits of account number       5724                                               $154.00
          Nonpriority Creditor's Name
          1308 12th Ave S                                            When was the debt incurred?           2014
          PO Box 6099
          Great Falls, MT 59406
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collecting for Traders Dispatch




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 Debtor 2 Gayle Marie Chvilicek                                                                          Case number (if known)         19-60131

 4.1
 7        Depratu Ford Sales                                         Last 4 digits of account number                                                          $600.00
          Nonpriority Creditor's Name
          6331 US Highway 93 South                                   When was the debt incurred?           3/14/2002
          Whitefish, MT 59937
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Small Claims Judgment: SC02037


 4.1      Discover Bank Discover Products
 8        Inc                                                        Last 4 digits of account number       6524                                               $654.24
          Nonpriority Creditor's Name
          PO Box 3025                                                When was the debt incurred?           2016
          New Albany, OH 43054-3025
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card debt


 4.1
 9        Document Management Services                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9187 Clairemont Mesa Blvd.                                 When was the debt incurred?
          San Diego, CA 92123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Debt Repayment Plan




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 Debtor 2 Gayle Marie Chvilicek                                                                          Case number (if known)         19-60131

 4.2
 0        Electroman Electric LTD                                    Last 4 digits of account number                                                         $9,635.00
          Nonpriority Creditor's Name
          c/o Angela LeDuc                                           When was the debt incurred?           2018
          Rocky Mountain Law Partners, PC
          PO Box 1758
          Kalispell, MT 59903
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CV-2018-0180, DV 18-385D


 4.2
 1        LendingClub Corporation                                    Last 4 digits of account number       2519                                              $5,153.00
          Nonpriority Creditor's Name
          595 Market Street, Suite 200                                                                     Opened 02/17 Last Active
          Attn Bankruptcy Dept                                       When was the debt incurred?           12/24/18
          San Francisco, CA 94105
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Unsecured Loan


 4.2
 2        Leroy Turner dba Leroy's Plumbing                          Last 4 digits of account number                                                    Indeterminate
          Nonpriority Creditor's Name
          & Heating, Inc.                                            When was the debt incurred?           2013
          c/o Buckwalter Law Firm, PLLC
          100 Financial Drive, Suite 200
          Kalispell, MT 59901
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   DV 13-095(D)



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 Debtor 2 Gayle Marie Chvilicek                                                                          Case number (if known)         19-60131

 4.2
 3        LVNV Funding LLC                                           Last 4 digits of account number                                                        $1,435.00
          Nonpriority Creditor's Name
          c/o Resurgent Capital Services                             When was the debt incurred?           2/8/2012
          PO Box 10497
          Greenville, SC 29603
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Judgment CV-2011-1636


 4.2
 4        Merrick Bank                                               Last 4 digits of account number       0734                                             $1,531.00
          Nonpriority Creditor's Name
          Resurgent Capital Services                                                                       Opened 03/16 Last Active
          PO Box 10368                                               When was the debt incurred?           11/17
          Greenville, SC 29603-0368
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card debt


 4.2
 5        N.W. Collectors                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 2898                                                When was the debt incurred?
          Missoula, MT 59806
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Potential Collection Account




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 Debtor 2 Gayle Marie Chvilicek                                                                          Case number (if known)          19-60131

 4.2
 6         Parkside Financial Credit Union                           Last 4 digits of account number       0015                                                       $471.00
           Nonpriority Creditor's Name
                                                                                                           Opened 11/14 Last Active
           1300 Baker Ave                                            When was the debt incurred?           09/17
           Whitefish, MT 59937
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Deposit Related


 4.2
 7         Verizon by American InfoSource                            Last 4 digits of account number       0001                                                       $207.33
           Nonpriority Creditor's Name
           4515 N Santa Fe Ave                                       When was the debt incurred?
           Oklahoma City, OK 73118
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Goods & Services

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bureaus Investment Group Portfolio                            Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 No 15 LLC                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 c/o PRA Receivables MGMT, LLC
 PO Box 41021
 Norfolk, VA 23541
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bureaus Investment Group Portfolio                            Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 No 15 LLC                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 c/o PRA Receivables MGMT, LLC
 PO Box 41021
 Norfolk, VA 23541
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One Bank (USA N.A. by                                 Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 American InfoSource as agent                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 4515 N Santa Fe Ave

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 Debtor 2 Gayle Marie Chvilicek                                                                          Case number (if known)          19-60131

 Oklahoma City, OK 73118
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Midland Credit MGMT, Inc. as agent                            Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 for Midland Funding, LLC                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 2011
 Warren, MI 48090
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Midland Funding                                               Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 2365 Northside Dr Ste 300                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 San Diego, CA 92108
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 The Bureaus Inc                                               Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 650 Dundee Rd, Ste 370
 Northbrook, IL 60062
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 The Bureaus Inc                                               Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 650 Dundee Rd, Ste 370
 Northbrook, IL 60062
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                  622,527.62
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                        0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                  622,527.62

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                    37,325.43

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                    37,325.43




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Fill in this information to identify your case:

Debtor 1                      John William Chvilicek

Debtor 2                      Gayle Marie Chvilicek
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF MONTANA

Case number               19-60131                                                                      Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                Not employed
       employers.
                                             Occupation                                                        GIS Specialist
       Include part-time, seasonal, or
       self-employed work.                   Employer's name                                                   Flathead Electric Co-op

       Occupation may include student        Employer's address
                                                                                                               2510 US-2 East
       or homemaker, if it applies.
                                                                                                               Kalispell, MT 59901

                                             How long employed there?                                                   16 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $              0.00       $         4,050.80

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $           0.00              $   4,050.80




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
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Debtor 1   John William Chvilicek
Debtor 2   Gayle Marie Chvilicek                                                                 Case number (if known)    19-60131


                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00   $         4,050.80

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00   $           817.40
     5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00   $             0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00   $           243.06
     5d.    Required repayments of retirement fund loans                                  5d.        $              0.00   $             0.00
     5e.    Insurance                                                                     5e.        $              0.00   $           270.49
     5f.    Domestic support obligations                                                  5f.        $              0.00   $             0.00
     5g.    Union dues                                                                    5g.        $              0.00   $            27.63
     5h.    Other deductions. Specify: Retirement Loan repayment                          5h.+       $              0.00 + $           353.64
            Union %                                                                                  $              0.00   $            60.75
            Untd Way                                                                                 $              0.00   $            21.67
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00   $          1,794.64
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00   $          2,256.16
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $      1,100.00       $                0.00
     8b. Interest and dividends                                                           8b.        $          0.00       $                0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $          0.00       $                0.00
     8d. Unemployment compensation                                                        8d.        $          0.00       $                0.00
     8e. Social Security                                                                  8e.        $      1,080.00       $                0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $                0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $                0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          2,180.00       $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              2,180.00 + $       2,256.16 = $            4,436.16
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.    $           4,436.16
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                       page 2
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Fill in this information to identify your case:

Debtor 1                 John William Chvilicek                                                            Check if this is:
                                                                                                               An amended filing
Debtor 2                 Gayle Marie Chvilicek                                                                 A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF MONTANA                                                        MM / DD / YYYY

Case number           19-60131
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            1,675.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                             0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                            65.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
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Debtor 1     John William Chvilicek
Debtor 2     Gayle Marie Chvilicek                                                                     Case number (if known)      19-60131

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 250.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                   0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 218.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                425.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 45.00
10.   Personal care products and services                                                    10. $                                                  69.00
11.   Medical and dental expenses                                                            11. $                                                  52.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                  50.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                  20.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  165.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Vehicle Taxes or Land Taxes                                                   16. $                                                  20.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  420.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                  423.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Attorney Fees - Morgan Pierce (monthly payment)                     21. +$                                                524.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       4,421.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       4,421.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               4,436.16
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              4,421.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                  15.16

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Fill in this information to identify your case:

 Debtor 1                    John William Chvilicek
                             First Name                     Middle Name             Last Name

 Debtor 2                    Gayle Marie Chvilicek
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MONTANA

 Case number              19-60131
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ John William Chvilicek                                                X   /s/ Gayle Marie Chvilicek
              John William Chvilicek                                                    Gayle Marie Chvilicek
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date       June 15, 2019                                                  Date    June 15, 2019




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  John William Chvilicek
                           First Name                       Middle Name              Last Name

 Debtor 2                  Gayle Marie Chvilicek
 (Spouse if, filing)       First Name                       Middle Name              Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MONTANA

 Case number            19-60131
 (if known)                                                                                                              Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Select Portfolio Servicing, Inc                      Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of 113 Swan Ridge CT Kalispell,                             Reaffirmation Agreement.
    property       MT 59901 Flathead County                                 Retain the property and [explain]:
    securing debt: Declaration of Homestead
                   recorded on February 20, 2019
                   in Flathead County.


    Creditor's         Wells Fargo Bank, NA                                 Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of        2013 Ford Explorer 52,000 miles                   Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:



    Creditor's         Wells Fargo Bank, NA                                 Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of        2012 Ford Explorer 98,000 miles                   Reaffirmation Agreement.

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 1

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 Debtor 1      John William Chvilicek
 Debtor 2      Gayle Marie Chvilicek                                                                  Case number (if known)    19-60131

     property                                                               Retain the property and [explain]:
     securing debt:

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ John William Chvilicek                                                   X /s/ Gayle Marie Chvilicek
       John William Chvilicek                                                           Gayle Marie Chvilicek
       Signature of Debtor 1                                                            Signature of Debtor 2

       Date        June 15, 2019                                                    Date     June 15, 2019




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY under penalty of perjury that on June 17, 2019, pursuant to Rule
1007(b)(2) F.R.B.P., I electronically filed the foregoing Statement of Intention with the Clerk of
the Bankruptcy Court using the CM/ECF system, which will automatically send e-mail
notification to the Case Trustee, the U.S. Trustee, all counsel of record and all individuals and/or
entities requesting special notice electronically.

       I ALSO HEREBY CERTIFY under penalty of perjury that on the same date stated above,
I mailed by first-class U.S. mail, postage prepaid, a copy of the foregoing to:

Select Portfolio Servicing, Inc                       Wells Fargo Bank, NA
Attn: Bankruptcy                                      dba Wells Fargo Auto
PO Box 65250                                          PO Box 130000
Salt Lake City, UT 84165-0000                         Raleigh, NC 27605

                                                              /s/ Kelsey J. Pelczar
                                                              Kelsey J. Pelczar
